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           In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 14-653V
                                     Filed: January 9, 2015
                                      Not for Publication

*************************
JUNE REED, on behalf of                           *
M.C., a minor child                               *
                                                  *
                         Petitioner,              *       Damages Decision Based on Proffer;
                                                  *       Rotavirus; Intussusception
v.                                                *
                                                  *
                                                  *
SECRETARY OF HEALTH                               *
AND HUMAN SERVICES,                               *
                                                  *
             Respondent.                          *
*************************

Amber Wilson, Maglio Christopher and Toale, PA, Washington, DC, for petitioner.
Justine Daigneault, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES 1

Vowell, Chief Special Master:

       On July 24, 2014, June Reed filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq, 2 [the “Vaccine
Act” or “Program”] on behalf of her minor daughter, M.C. The petition alleges that as a
result of the administration of a rotavirus vaccination on December 3, 2013, M.C.
suffered an intussusception which required surgical intervention. (Petition (ECF No. 1)
at pp. 1-2.)

      On October 28, 2014, I issued a ruling on entitlement, finding petitioner entitled to
compensation. (See Ruling on Entitlement (ECF No. 17).) On January 7, 2015,
respondent filed a proffer on award of compensation (“Proffer”) detailing compensation
1
 Because this unpublished decision contains a reasoned explanation for the action in this case, it will be
posted on the United States Court of Federal Claims' website, in accordance with the E-Government Act
of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17, 2002). In accordance with Vaccine Rule
18(b), petitioners have 14 days to identify and move to redact medical or other information, the disclosure
of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that the identified
material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2006).
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for M.C.’s actual and projected pain and suffering, past unreimbursable expenses
related to M.C.’s vaccine-related injury, and a Medicaid lien. According to respondent’s
Proffer, petitioner agrees to the proposed award of compensation. 3 Pursuant to the
terms stated in the attached Proffer, I award petitioner:

          1. A lump sum payment of $35,000.00 in the form of a check payable to
             petitioner, June Reed, as guardian/conservator of M.C., for the benefit of
             M.C., representing compensation M.C.’s pain and suffering 4;

          2. A lump sum payment of $119.04 in the form of a check payable to
             petitioner, June Reed, representing compensation for past unreimbursable
             expenses; and

          3. A lump sum payment of $7,990.74 in the form of a check payable jointly
             to petitioner, June Reed, and

                                                AMERIGROUP
                                         Attn: Cost Containment Unit
                                                P.O. Box 62509
                                          Virginia Beach, VA 23466,

             representing compensation for satisfaction of the State of Louisiana Medicaid
             lien. 5

      These amounts represent compensation for all damages that would be available
under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 6


IT IS SO ORDERED.
                                                                  s/Denise K. Vowell
                                                                  Denise K. Vowell
                                                                  Chief Special Master



3
 Petitioner’s agreement was also confirmed via e-mail to petitioner’s counsel by the staff attorney
managing this case on January 8, 2015.
4
 Per the terms of the proffer “no payments shall be made until petitioner provides respondent with
documentation establishing that she has been appointed as guardian/conservator of MC’s estate.”
5
    Petitioner agrees to endorse this payment to AMERIGROUP.
6
 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.
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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                              OFFICE OF SPECIAL MASTERS
____________________________________
                                    )
JUNE REED, on Behalf of MC,         )
a Minor Child,                      )
                                    )
      Petitioner,                   )
                                    )                No. 14-653V
      v.                            )                Chief Special Master Vowell
                                    )                ECF
SECRETARY OF HEALTH AND             )
HUMAN SERVICES,                     )
                                    )
      Respondent.                   )
____________________________________)

              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.     Items of Compensation

       For the purposes of this proffer, the term “vaccine-related” is as described in

Respondent’s Rule 4(c) Report filed on October 28, 2014.

       A.       Future Unreimbursable Expenses

       The parties agree that based upon the evidence of record, MC will not require future care

for her vaccine-related injury. Therefore, respondent proffers that petitioner should be awarded

no future unreimbursable expenses under 42 U.S.C. § 300aa-15(a)(1). Petitioner agrees.

       B.       Lost Future Earnings

       The parties agree that based upon the evidence of record, MC will be gainfully employed

in the future. Therefore, respondent proffers that petitioner should be awarded no anticipated

loss of earnings under 42 U.S.C. § 300aa-15(a)(3)(B). Petitioner agrees.

       C.       Pain and Suffering

       Respondent proffers that MC should be awarded $35,000.00 in actual and projected pain
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and suffering. This amount reflects that the award for projected pain and suffering has been

reduced to net present value. 1 See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.

       D.       Past Unreimbursable Expenses

       Evidence supplied by petitioner documents her expenditure of past unreimbursable

expenses related to MC’s vaccine-related injury. Respondent proffers that petitioner should be

awarded past unreimbursable expenses in the amount of $119.04. Petitioner agrees.

       E.       Medicaid Lien

       Respondent proffers that MC should be awarded funds to satisfy the State of Louisiana

Medicaid lien in the amount of $7,990.74, which represents full satisfaction of any right of

subrogation, assignment, claim, lien, or cause of action the State of Louisiana may have against

any individual as a result of any Medicaid payments the State of Louisiana has made to or on

behalf of MC from the date of her eligibility for benefits through the date of judgment in this

case as a result of her vaccine-related injury suffered on or about December 3, 2013, under

Title XIX of the Social Security Act.

II.    Form of the Award

       The parties recommend that compensation provided to MC should be made through lump

sum payments as described below and request that the Chief Special Master’s decision and the

Court’s judgment award the following:

       A. A lump sum payment of $35,000.00, representing compensation for pain and

suffering, in the form of a check payable to petitioner as guardian/conservator of MC, for the

benefit of MC. No payments shall be made until petitioner provides respondent with

documentation establishing that she has been appointed as guardian/conservator of MC’s estate.


1
 Should MC die prior to entry of judgment, the parties reserve the right to move the Court for
appropriate relief.
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If petitioner is not authorized by a court of competent jurisdiction to serve as

guardian/conservator of the estate of MC, any such payment shall be made to the party or parties

appointed by a court of competent jurisdiction to serve as guardian/conservator of the estate of

MC upon submission of written documentation of such appointment to the Secretary.

       B.    A lump sum payment of $119.04, representing compensation for past

unreimbursable expenses, payable to June Reed, petitioner.

       C.    A lump sum payment of $7,990.74, representing compensation for satisfaction of

the State of Louisiana Medicaid lien, payable jointly to petitioner and

                                         AMERIGROUP
                                   Attn: Cost Containment Unit
                                         P.O. Box 62509
                                    Virginia Beach, VA 23466

Petitioner agrees to endorse this payment to the above payee.

III.   Summary of Recommended Payments Following Judgment

       A.       Lump sum paid to petitioner as guardian/conservator of
                MC’s estate:                                                       $35,000.00

       B.       Lump sum paid to petitioner:                                       $    119.04

       C.       Reimbursement for Medicaid Lien:                                   $ 7,990.74


                                               Respectfully submitted,

                                               JOYCE R. BRANDA
                                               Acting Assistant Attorney General

                                               RUPA BHATTACHARYYA
                                               Director
                                               Torts Branch, Civil Division

                                               VINCENT J. MATANOSKI
                                               Deputy Director
                                               Tort Branch, Civil Division


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                                    ALTHEA W. DAVIS
                                    Senior Trial Counsel
                                    Torts Branch, Civil Division

                                     s/ Justine Daigneault
                                    JUSTINE E. DAIGNEAULT
                                    Trial Attorney
                                    Torts Branch, Civil Division
                                    U.S. Department of Justice
                                    P.O. Box 146
                                    Benjamin Franklin Station
                                    Washington, D.C. 20044-0146
                                    Telephone: (202) 307-6393

Dated: January 7, 2015




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